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                       ​IN THE UNITED STATES DISTRICT COURT​
                          ​FOR THE NORTHERN DISTRICT OF TEXAS​
                                    ​DALLAS DIVISION​

 ​Jennifer L. Ryan,​                                       ​​
                                                           §
                                                           ​§​
        ​Plaintiff,​                                        ​§​
                                                             ​§​
 ​v.​                                                         ​§​      ​Civil Action No. 3:25-cv-01223​
                                                               ​§​
 ​PAYPAL, INC.,​                                                ​§​
                                                                 ​§​
        ​Defendants​
                                        ​AMENDED COMPLAINT​

 ​Plaintiff Jennifer L. Ryan, proceeding​​pro se​​, files this Amended Complaint against Defendant​

 ​PayPal, Inc., pursuant to Fed. R. Civ. P. 15(a)(2), to address PayPal’s Motion to Compel​

 ​Arbitration and Motion to Dismiss (ECF No. 6, filed June 6, 2025), clarify claims, and present​

 ​new evidence. Plaintiff requests liberal construction due to her pro se status (​​Haines​​v. Kerner​​,​

 ​404 U.S. 519, 520 (1972)).​


 ​I. INTRODUCTION​

        ​1.​ ​This action arises from PayPal’s unlawful termination of Plaintiff’s 15-year account on​

             ​January 21, 2021, coordinated with government agencies (FinCEN, DOJ, FBI) and media​

             ​to suppress her protected speech following peaceful January 6, 2021, protest activity (Ex.​

             ​37,​​¶​​2–8). Within 44 minutes, PayPal leaked the ban to CNET and CBS, fueling a global​

             ​media spectacle with hundreds of thousands of comments, viral gangstalking, and​

             ​defamatory world news articles labeling Plaintiff an “extremist” as if she was a “domestic​

             ​terrorist” deserving of exile. PayPal’s public ban of Plaintiff caused mass deplatforming​

             ​the next day, disconnecting her from established networks, forcing her to change her​


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        ​name, close her companies, sell her home, and incur ~$100,000+ in losses, severe​

        ​distress, and ongoing 2025 reputational harm (Ex. 37,​​¶​​5–17, Exs. 2, 13–14, 34, 40, 41​

        ​ECF No. 1).​

    ​2.​ ​New 2024–2025 evidence, including Executive Order 14147, Congressional reports on​

        ​PayPal’s FinCEN coordination, and ODNI’s DVE targeting (Exs. 1, 18, 19, 36), reveals​

        ​PayPal’s state-actor role, triggering timely § 1983 and § 1985 claims (Ex. 39, ECF No.​

        ​1). Plaintiff did not become aware that PayPal was operating in coordination with the​

        ​government when she originally filed for intentional infliction of emotional distress and​

        ​business torts in June 2022​ ​(JLR Global, LLC v. PayPal Holdings, Inc.​​, Case No.​

        ​4:22-CV-559 (E.D. Tex.), creating the need for expanded claims in this action distinct​

        ​from​​JLR Global​​(Exs. 4, 39) that were not adjudicated​​.​

    ​3.​ ​Plaintiff was originally ordered to arbitration in​​JLR Global,​​but was unable to access the​

        ​arbitration process due to PayPal’s obstruction and waiver of arbitration (Exs. 4, 32, 33,​

        ​38, 42) causing Plaintiff to represent herself pro se, lose income and spend 500+ hours of​

        ​prejudice (Ex. 34), in effort to restore her name and to stop PayPal from harming others.​

    ​4.​ ​Public adjudication is required due to public policy concerns (Ex. 35) and overlap with​

        ​Ryan v. DOJ & Rochlin​​, Case No. 3:25-cv-00325-X-BT, (Ex. 3) now in settlement​

        ​review, sharing parallel facts of coordinated government retaliation and constitutional​

        ​violations (Exs. 4, 36–Notice of Related Case).​

    ​5.​ ​Plaintiff seeks compensatory and punitive damages, declaratory relief, costs, and​

        ​equitable relief for violations of her First, Fourth, and Fourteenth Amendment rights,​

        ​civil rights conspiracy, defamation, and intentional infliction of emotional distress (IIED).​




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 ​II. PRELIMINARY MATTERS​

    ​6.​ ​Request for Judicial Notice​​: Plaintiff requests judicial notice under Fed. R. Evid. 201 of​

        ​PayPal’s 25 misrepresentations in its Motion (ECF No. 6), including a fabricated quote​

        ​from​​Wheeler v. Kidder Peabody & Co.​​, 8 F.3d 21, 1993 WL 455869 (5th Cir. 1993) (Ex.​

        ​38, Item 4, ECF No. 6). PayPal falsely quotes​​Wheeler​​as stating, “[Ryan’s] nonsuit​

        ​cannot abrogate the effect of the [Eastern District’s] order compelling arbitration, and​

        ​[t]he fact that [Ryan] now asserts new causes of action is irrelevant]” (ECF No. 6 at​

        ​8–10).​​Wheeler​​addresses an NASD time bar, not collateral estoppel, and no such quote​

        ​exists (Ex. 31). PayPal misstates that​​JLR Global​​adjudicated Plaintiff’s claims (Ex. 38,​

        ​Item 1), ignoring its stay and closure due to PayPal’s non-payment of AAA fees (Exs. 6,​

        ​33, 37,​​¶​​15). These distortions prejudice Plaintiff (~$20,000 costs, Ex. 34) and​

        ​misrepresent tolling defenses (Ex. 38, Items 5–8, 19–25, Exs. 1, 18, 36), evidencing bad​

        ​faith and warranting notice (Section V.C).​

    ​7.​ ​Pro Se Status​​: Unable to secure counsel despite a $350,000 quote (Ex. 33), Plaintiff​

        ​incurred ~$5,700+ in litigation costs, ~$5,000 in direct costs, 500+ hours, and thousands​

        ​in lost work time since 2021 (Ex. 37,​​¶​​13, Ex. 34). The Court should construe her​

        ​pleadings liberally (​​Haines v. Kerner​​, 404 U.S. 519, 520 (1972)).​


 ​III. JURISDICTION AND VENUE​

    ​8.​ ​This Court has federal question jurisdiction under 28 U.S.C. § 1331 for claims under 42​

        ​U.S.C. §§ 1983 and 1985, and supplemental jurisdiction under 28 U.S.C. § 1367 for​

        ​state-law claims (defamation, IIED) arising from the same facts.​




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    ​9.​ ​Venue is proper under 28 U.S.C. § 1391(b)(2), as events, including 2025 harms in Dallas,​

        ​occurred in the Northern District of Texas (Ex. 37). Eastern District barriers (Ex. 9) and​

        ​PayPal’s bad faith (Ex. 38) justify refiling here, contra PayPal’s Rule 12(b)(3) motion​

        ​(ECF No. 6 at 3) (Section VIII.A.3).​


 ​IV. PARTIES​

    ​10.​​Plaintiff Jennifer L. Ryan resides in Richardson, Texas, within the Northern District. She​

        ​used PayPal for her businesses (real estate, marketing, life coaching) from 2006 to 2021​

        ​(Ex. 37,​​¶​​2).​

    ​11.​​Defendant PayPal, Inc., a Delaware corporation headquartered in San Jose, California,​

        ​conducts business in Texas. PayPal acted as a state actor via coordination with FinCEN,​

        ​DOJ, and FBI, as evidenced by its 2020 Annual Report detailing public-private​

        ​partnerships and 4,000 regulatory staff (Ex. 37,​​¶​​8, Exs. 1, 18, 19, 24).​


 ​V. STATEMENT OF FACTS​

 ​A. January 2021 Events and Government Collusion​

    ​12.​​Post-January 6, 2021, federal agencies (DOJ, FBI, FinCEN, DHS) labeled Plaintiff an​

        ​“extremist” without due process, using Patriot Act frameworks to target her accounts, as​

        ​confirmed by Executive Order 14147 and an ODNI report (Exs. 1, 19–22). On January​

        ​15, 2021, the FBI raided Plaintiff’s home and alerted the media (Ex. 10), arresting her for​

        ​a non-violent misdemeanor protest charge, publicized as a “national security threat,”​

        ​inciting thousands of threats (Ex. 37,​ ​¶​​3, Exs. 10, 14, 20, 21, 22, 23 40, 3–​​Ryan v. DOJ​​).​

    ​13.​​On January 18, 2021, FinCEN urged flagging January 6-related accounts under AML​

        ​protocols (Exs. 23, 27, 28, 29). On January 21, 2021, at 8:49 AM, Plaintiff posted a​


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        ​lawful $200 fundraising tweet (Ex. 11, Ex. 37,​​¶​ ​4). That same day, PayPal terminated​

        ​her account, citing “policy violations” (Ex. 12, Ex. 37,​​¶​ ​4).​

    ​14.​​Within 44 minutes, CNET requested comment, followed by CBS and 28+ articles by​

        ​January 22, 2021, framing Plaintiff as an “extremist” (Exs. 13–14, 40, Ex. 37,​​¶​ ​5–6).​

        ​PayPal, integrated with FinCEN/FBI via CLEAR database (Ex. 26) and compliance​

        ​channels, coordinated this targeting with media, (Exs. 25, 27, 29) filing SARs on January​

        ​6 participants like Plaintiff, as confirmed by its PayPal’s 2020 Annual Report,​

        ​Congressional reports from 2024, DOJ disclosures, and EO 14147 (Exs. 1, 18, 19, 24–26,​

        ​36;​​Ryan v. DOJ​​).​


 ​B. Harms and Deplatforming​

    ​15.​​PayPal’s leaks triggered a global media spectacle, 28 MSM articles (Ex. 15) with viral​

        ​CBS News DFW broadcasts (Ex. 40) and public commentary demanding Plaintiff’s​

        ​imprisonment, real estate license revocation, and labeling her a “domestic terrorist” and​

        ​“racist,” representing 0.05% of the attacks endured. The following day (January 22,​

        ​2021) Plaintiff was rapidly banned by financial institutions and kicked off of social media​

        ​platforms, getting evicting her from her Frisco real estate office, and forcing her to​

        ​change her name, close her businesses, sell her home, and relocate (Ex. 37, 6–10, Exs. 2,​

        ​13–14, 16, 17, 34, 40). As a social media coach and radio host, Plaintiff was “cancelled​

        ​everywhere,” suffering ~$100,000+ in losses and severe distress, exacerbated by her​

        ​mother’s 2021 passing in July 2021. (Ex. 37,​​¶​ ​9;​​Ryan v. DOJ​​, Ex. J).​

    ​16.​​Plaintiff was sentenced to 60-days incarceration for peacefully protesting on January 6,​

        ​where the prosecutor and judge cited “media interest” as a reason for harsh​




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        ​punishment–recognized as unjust by her Presidential Pardon (Ex. 2, Ex. 37,​​¶​​11–12, Exs.​

        ​4, 36).​

    ​17.​​Through 2025, harms persisted: Bank of Texas closed her account (2024), professionals​

        ​rejected her, and she lived in isolation, incurring ~$20,000 in litigation costs, ~$5,700+ in​

        ​expenses, ~$5,000 in direct costs, 500+ hours, and millions in lost work time as a real​

        ​estate broker and social media coach (Ex. 37,​​¶​​13, 17, Ex. 34).​


 ​C. Procedural History​

    ​18.​​On June 8, 2022, Plaintiff filed​​JLR Global​​, asserting tort and EFTA claims (Exs. 4, 39).​

        ​PayPal removed the case (Ex. 32, Ex. 4), misstating adjudication (Ex. 38, Item 1). In May​

        ​2022, PayPal initiated $5 million settlement talks, delaying proceedings (Ex. 42, May​

        ​20–25, 2022).​

    ​19.​​On March 15, 2023, the court compelled arbitration (Ex. 5). Plaintiff filed an AAA claim​

        ​pro se (Case No. 01-23-0003-6758), securing a $10,500 fee waiver but unable to pay a​

        ​$1,500 balance after PayPal’s refusal (Ex. 37,​​¶​​15, Exs. 33, 42, July 26–September 22,​

        ​2022). AAA closed the case on October 3, 2023 (Exs. 6, 33, 42).​

    ​20.​​Despite the PayPal’s Terms of Service stating that all merits should go to the arbitrator​

        ​(Ex. 8), PayPal breached it’s agreement and waived arbitration by advancing 13​

        ​merits-based arguments, including responses on November 20, 2023, and March 10, 2025​

        ​(Ex. 32, Ex. 42), and made 25 misrepresentations (Ex. 38), causing ~$20,000 in costs and​

        ​500+ hours (Ex. 34). Plaintiff voluntarily dismissed​​JLR Global​​without prejudice on​

        ​May 1, 2025 (Ex. 7) due to procedural barriers (Exs 7, 9) refiling on May 14, 2025, with​

        ​new § 1983/§ 1985 claims based on 2024–2025 evidence (Exs. 1, 18, 19, 30, 36, 39).​

        ​This case relates to​​Ryan v. DOJ​​(Case No. 3:25-cv-00325-X-BT), now in settlement​


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        ​review, sharing facts, Magistrate Judge Rebecca Rutherford, and civil rights violations,​

        ​favoring judicial economy (Exs. 4, 36)--​​Amrollah v. Napolitano​​, 710 F.3d 568 (5th Cir.​

        ​2013), Notice of Related Case).​


 ​D. PayPal’s Judicial Admission of State Actor Allegations​


    ​21.​ ​In its June 6, 2025 Motion to Compel Arbitration and Dismiss, PayPal concedes that​

        ​Plaintiff’s allegations regarding its role as a state actor are evident from the face of the​

        ​Complaint:​


        ​“It is also evident from the face of Ryan’s Complaint that she knew as of January 22,​

        ​2021, the information underlying her allegation that PayPal was working as a state​

        ​actor—the FBI’s raid of her home and the ‘FinCEN’ media alerts.”​​(ECF No. 6 at 16).​


        ​This admission confirms that Plaintiff has met the plausibility standard under​​Ashcroft v.​

        ​Iqbal​​, 556 U.S. 662 (2009), and supports denial of​​PayPal’s motion to dismiss. Whether​

        ​PayPal acted under color of law is a factual question, not a legal deficiency, and is not​

        ​appropriate for resolution on the pleadings.​


 ​VI. ARBITRATION​

    ​22.​​Plaintiff’s claims are not subject to arbitration under PayPal’s User Agreement (Ex. 8),​

        ​due to waiver, invalidity, and non-arbitrability.​

            ​a.​ ​No Valid Agreement​​: The clickwrap agreement lacked clear notice and was​

                ​unconscionable, given PayPal’s coercive ban (Ex. 37,​​¶​​4, Ex. 8). Plaintiff did not​

                ​knowingly assent to civil rights violations or obstructed arbitration process (Ex.​

                ​33, 33.1-33.4).​


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           ​b.​ ​Claims Outside Scope​​: § 1983/§ 1985 claims, involving state-actor collusion​

               ​(Ex. 37, Exs. 1, 18, 19, 36), are beyond the User Agreement’s scope (Ex. 39).​

               ​Defamation and IIED arising from public leaks in coordination with the​

               ​government to chill free speech (Exs. 13–14, 40), are not contractual disputes (Ex.​

               ​38, Item 17).​

           ​c.​ ​Non-Arbitrability​​: Constitutional claims are non-arbitrable due to public policy​

               ​concerns (free speech, government collusion,​​Ryan v. DOJ​​overlap), as confirmed​

               ​by EO 14147, Congressional findings, and ODNI’s DVE targeting (Exs. 1, 18, 19,​

               ​35, 36, Ex. 38, Item 6,​​Paladino v. Avnet Comput. Techs., Inc.​​, 134 F.3d 1054,​

               ​1062 (11th Cir. 1998),​​Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc.​​,​

               ​473 U.S. 614, 637 n.19 (1985)).​

           ​d.​ ​PayPal’s Waiver​​: PayPal’s eight obstructive actions—settlement talks, fee​

               ​non-payment, 13 merits-based arguments (Ex. 42, Exs. 32, 33, 33.1-33.4) caused​

               ​~$14,300+ in costs and a 25-month delay (Ex. 34, Ex. 37,​​Morgan v. Sundance,​

               ​Inc.​​, 596 U.S. 411, 417 (2022);​​Vine v. PLS Fin. Servs., Inc.​​, 689 F. App’x 800,​

               ​803 (5th Cir. 2017)). Plaintiff’s AAA efforts (Ex. 37, § 15, Ex. 33) refute PayPal’s​

               ​non-compliance claim (ECF No. 6, p. 13, n.19, Ex. 38, Items 2, 7–8, Section V.C).​


 ​VII. STATUTE OF LIMITATIONS​

    ​23.​​Plaintiff’s claims are timely under equitable tolling, the discovery rule, continuing​

        ​violation doctrine, and Tex. Civ. Prac. & Rem. Code § 16.064, contra PayPal’s Motion​

        ​(ECF No. 6, V.B, Ex. 38, Items 5–8, 19–25).​

    ​24.​​§ 1983 and § 1985 Claims​​: Accrual was delayed until 2024–2025, when Plaintiff​

        ​discovered PayPal’s collusion via EO 14147, Congressional findings, ODNI’s DVE​


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        ​targeting, and PayPal’s 2020 Annual Report (Ex. 37,​​¶​​8, Exs. 1, 18, 19, 24, 36,​​Frame v.​

        ​City of Arlington​​, 657 F.3d 215, 238 (5th Cir. 2011), Ex. 39). Equitable tolling applies​

        ​from June 8, 2022, to May 1, 2025, due to PayPal’s obstruction (Exs. 32, 33, 42) and​​JLR​

        ​Global​​’s stay (Ex. 5), causing ~$20,000 costs, ~$5,700+ expenses, ~$5,000 direct costs,​

        ​500+ hours, and thousands in lost work time (Ex. 34, Ex. 37,​​Holland v. Florida​​, 560​

        ​U.S. 631, 649 (2010)).​

    ​25.​​Defamation​​: The discovery rule applies, as PayPal’s leak scope was revealed in​

        ​2024–2025 (Ex. 37,​​¶​​16, Exs. 13–14, 18, 40). Ongoing reputational harm (Ex. 34)​

        ​extends limitations (​​Huckabay v. Moore​​, 142 F.3d 233, 238 (5th Cir. 1998), Ex. 38, Item​

        ​25).​

    ​26.​​IIED​​: Ongoing distress through 2025 (Ex. 37,​​¶​​17, Ex. 34) and obstruction delay​

        ​accrual, supporting tolling (​​Holland​​, Ex. 32, Ex. 42).​

    ​27.​​Equitable Tolling:​​Plaintiff timely filed her claims in​​JLR Global​​in 2022. The statute of​

        ​limitations was tolled during that action’s pendency under the equitable tolling doctrine​

        ​and the general rule that a timely-filed complaint tolled the limitations period while it was​

        ​pending. (​​American Pipe & Construction Co. v. Utah,​​414 U.S. 538 (1974). Plaintiff​

        ​acted diligently throughout, and voluntarily dismissed without prejudice only after​

        ​extraordinary delay caused by Defendant’s refusal to pay arbitration fees (Ex. 9, 33, 37,​

        ​34, 42, ). (​​Taylor v. United States Treasury Department,​​127 F.3d 470 (5th Cir. 1997).​

        ​Refiling here within a reasonable time, with newly discovered facts regarding PayPal’s​

        ​coordination with the federal government, (Ex. 18-20, 22-24) justifies continued tolling​

    ​28.​​Statutory Tolling​​: Tex. Civ. Prac. & Rem. Code § 16.064 tolls claims refiled within 60​

        ​days of dismissal for procedural reasons.​​JLR Global​​’s dismissal on May 1, 2025, and​




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        ​refiling on May 14, 2025 (13 days), suspends the SOL from June 8, 2022, to May 1,​

        ​2025, preserving § 1983, § 1985, and IIED claims (​​Clary Corp. v. Smith​​, 949 S.W.2d 452,​

        ​460 (Tex. App.—Fort Worth 1997), Ex. 38, Item 5, contra​​Brinston v. Koppers Indus.,​

        ​Inc.​​, 538 F. Supp. 2d 969 (W.D. Tex. 2008)).​


 ​VIII. DEFENSES TO PAYPAL’S MOTION​

 ​A. Plaintiff’s Claims Are Not Subject to Arbitration​

    ​29.​​Collateral Estoppel Does Not Apply​​: PayPal’s estoppel argument (ECF No. 6, V.A.1)​

        ​fails, as​​JLR Global​​involved tort claims, not § 1983/§ 1985, and was stayed, not​

        ​adjudicated (Exs. 4, 39, Exs. 5, 7). No final judgment occurred, and new 2024–2025​

        ​evidence (Exs. 1, 18, 19, 36) creates distinct issues (​​Amrollah v. Napolitano​​, 710 F.3d​

        ​568, 572 (5th Cir. 2013),​​Montana v. United States​​, 440 U.S. 147, 153 (1979),​

        ​Blonder-Tongue Labs., Inc. v. Univ. of Ill. Found.​​, 402 U.S. 313 (1971), (Ex. 38, Items 1,​

        ​4, 10–12, 13–16, Ex. 31). PayPal’s fabricated​​Wheeler​​quote regarding collateral estoppel​

        ​(ECF No. 6 at 8–10, Ex. 38, Item 4) is bad faith (Section V.C).​

    ​30.​​No Valid Arbitration Agreement​​: PayPal waived arbitration through eight obstructive​

        ​actions, including fee non-payment (Exs. 6, 33, 42), settlement talks (Ex. 42, May 2022),​

        ​and 13 merits-based arguments (Ex. 32, Ex. 42), causing ~$14,300+ costs and 500+ hours​

        ​(Ex. 34, Ex. 37,​​Morgan v. Sundance, Inc.​​, 596 U.S. 411, 417 (2022);​​Vine v. PLS Fin.​

        ​Servs., Inc.​​, 689 F. App’x 800, 803 (5th Cir. 2017)). § 1983/§ 1985 claims are​

        ​non-arbitrable due to public policy and​​Ryan v. DOJ​​overlap (Exs. 1, 18, 19, 35, 36, Ex.​

        ​38, Item 17) See (​​Paladino v. Avnet Comput. Techs., Inc.​​, 134 F.3d 1054, 1062 (11th Cir.​

        ​1998)). Plaintiff’s AAA efforts (Ex. 37,​​¶​​15, Ex. 33, 33.1-33.4) refute PayPal’s claim​

        ​(ECF No. 6, p. 13, n.19, Ex. 38, Items 2, 7–8, Section V.C).​


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    ​31.​​Dismissal Under Rule 12(b)(3) Is Improper​​: A stay, not dismissal, is required if​

        ​arbitration applies (​​Smith v. Spizzirri​​, 601 U.S. 472, 478 (2024), Ex. 38, Item 1). PayPal’s​

        ​bad faith (Ex. 38, Ex. 42) and Plaintiff’s pro se efforts (Ex. 37, Ex. 9, to be filed) negate​

        ​dilatory tactics (ECF No. 6 at 3). Dismissal prejudices Plaintiff (~$20,000, Ex. 34,​

        ​Section V.C).​


 ​B. Plaintiff’s Claims Are Not Barred by Statute of Limitations​

    ​32.​​Timeliness/Tolling​​: § 1983/§ 1985 claims accrued in 2024–2025 upon discovering​

        ​collusion via EO 14147, Congressional findings, and ODNI’s DVE targeting (Ex. 37,​

        ​Exs. 1, 18, 19, 24, 36,​​Frame v. City of Arlington​​, 657 F.3d 215, 238 (5th Cir. 2011), Ex.​

        ​39). Equitable tolling applies from June 8, 2022, to May 1, 2025, due to PayPal’s​

        ​obstruction (Exs. 32, 33, 42) and​​JLR Global​​’s stay, causing ~500+ hours, and thousands​

        ​in lost work time (Ex. 34, Ex. 37,​​Holland v. Florida​​, 560 U.S. 631, 649 (2010)). §​

        ​16.064 tolls claims from June 8, 2022, to May 1, 2025, due to timely refiling (Ex. 38,​

        ​Item 5,​​Clary Corp. v. Smith​​, 949 S.W.2d 452, 460 (Tex. App.—Fort Worth 1997)).​

        ​PayPal misstates tolling (Ex. 38, Items 5–6, 19–24, contra ECF No. 6, V.B, Section V.C).​

    ​33.​​Continuing Violation​​: Ongoing 2025 harms (reputational, financial, emotional) extend​

        ​limitations for defamation and IIED (Ex. 37, Ex. 34,​​Huckabay v. Moore​​, 142 F.3d 233,​

        ​238 (5th Cir. 1998), Ex. 38, Item 25, contra ECF No. 6 at 22).​


 ​C.​​Conduct Inconsistent with Arbitration​


    ​34.​ ​PayPal’s own Terms of Service dictate that all merits-based issues must be decided by an​

        ​arbitrator. Despite this, PayPal’s Motion to Compel Arbitration and Motion to Dismiss​

        ​(ECF No. 6) repeatedly argue the merits of Plaintiff’s claims — including statute of​


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        ​limitations, collateral estoppel, and the sufficiency of constitutional allegations — all of​

        ​which fall squarely within the arbitrator’s purview under their agreement. By doing so,​

        ​PayPal has not only breached its own Arbitration Agreement but also waived its right to​

        ​compel arbitration by substantially invoking the judicial process. Having invited the​

        ​Court to rule on the merits, PayPal cannot now retreat behind the arbitration clause to​

        ​avoid adjudication.​


 ​D. Additional Defenses​

    ​35.​​PayPal’s 25 misrepresentations (Ex. 38, Item 4,​​Wheeler​​) show bad faith, estopping its​

        ​motion (​​New Hampshire v. Maine​​, 532 U.S. 742, 750–51 (2001)). Plaintiff’s pro se​

        ​prejudice (~$20,000, 500+ hours, millions in lost work time, Ex. 31, 34, Ex. 37),​

        ​constitutional claims’ public interest (Exs. 1, 18, 19, 35, 39), and overlap with​​Ryan v.​

        ​DOJ​​, now in settlement review, confirming government misconduct via EO 14147,​

        ​Plaintiff’s pardon, Congressional findings, and ODNI’s DVE targeting (Exs. 1, 2, 4, 18,​

        ​19, 24, 33, 36, Notice of Related Case), require adjudication (Section V.C).​


 ​IX. COUNTS​

 ​Count 1: 42 U.S.C. § 1983 – First Amendment Violation​

    ​36.​​PayPal, acting under color of law, violated Plaintiff’s First Amendment right to free​

        ​speech by terminating her account on January 21, 2021, based on her lawful $200​

        ​fundraiser tweet. (Statement of Facts V.A (13))​

    ​37.​​PayPal’s state actor status is established through:​

            ​a.​ ​Joint Action​​, as the 44-minute gap between PayPal’s email and CNET’s contact,​

                ​18-minute gap to CBS’s report, and six-day proximity to the FBI’s raid indicate a​



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                ​conspiracy with FinCEN, DOJ, and FBI (​​Adickes v. S.H. Kress & Co.​​, 398 U.S.​

                ​144, 152 (1970)) (Statement of Facts V.A);​

            ​b.​ ​Nexus​​, as PayPal’s ban was tied to FinCEN’s January 18, 2021, guidance and FBI​

                ​directives (​​Jackson v. Metropolitan Edison Co.​​, 419 U.S. 345, 351 (1974)); and​

            ​c.​ ​Compulsion​​, as FinCEN’s Adverse Media Alerts coerced PayPal’s actions (​​Blum​

                ​v. Yaretsky​​, 457 U.S. 991, 1004 (1982)). (Statement of Facts V.A (12), Ex. 23, 29,​

                ​1).​

    ​38.​​This violation, linked to​​Ryan v. DOJ & Rochlin​​’s evidence of government misconduct​

        ​(Case No. 3:25-CV-00325-X-BT), caused business closure, reputational harm, mob​

        ​attacks, and incarceration, and is a non-arbitrable constitutional tort due to public policy​

        ​concerns. (​​Lugar v. Edmondson Oil Co.​​, 457 U.S. 922, 937 (1982);​​Paladino v. Avnet​

        ​Comput. Techs., Inc.​​, 134 F.3d 1054, 1062 (11th Cir. 1998).​


 ​Count 2: 42 U.S.C. § 1983 – Fourth Amendment Violation​

    ​39.​​PayPal, acting under color of law, unreasonably seized Plaintiff’s funds by freezing her​

        ​account without due process on January 21, 2021, violating her Fourth Amendment​

        ​rights. (Statement of Facts)​

    ​40.​​PayPal’s state actor status is established through Joint Action, Nexus, and Compulsion, as​

        ​described in Count 1. (​​Adickes v. S.H. Kress & Co.​​, 398 U.S. 144, 152 (1970);​​Jackson v.​

        ​Metropolitan Edison Co.​​, 419 U.S. 345, 351 (1974);​​Blum v. Yaretsky​​, 457 U.S. 991, 1004​

        ​(1982); Statement of Fact.).​

    ​41.​​This non-arbitrable constitutional tort caused financial harm, linked to​​Ryan v. DOJ​​.​

        ​(​Lugar v. Edmondson Oil Co.​​, 457 U.S. 922, 937 (1982);​​Paladino v. Avnet Comput.​

        ​Techs., Inc.​​, 134 F.3d 1054, 1062 (11th Cir. 1998).)​


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 ​Count 3: 42 U.S.C. § 1983 – Fourteenth Amendment Violation (Due Process)​

    ​42.​​PayPal, acting under color of law, deprived Plaintiff of her property and liberty without​

        ​due process by freezing her account and leaking defamatory information to the media on​

        ​January 21, 2021, leading to deplatforming and incarceration. (Statement of Facts)​

    ​43.​​PayPal’s state actor status is established through Joint Action, Nexus, and Compulsion, as​

        ​described in Count 1. (​​Adickes v. S.H. Kress & Co.​​, 398 U.S. 144, 152 (1970);​​Jackson v.​

        ​Metropolitan Edison Co.​​, 419 U.S. 345, 351 (1974);​​Blum v. Yaretsky​​, 457 U.S. 991, 1004​

        ​(1982); Statement of Facts)​

    ​44.​​This non-arbitrable constitutional tort caused severe harm, linked to​​Ryan v. DOJ​​. (​​Lugar​

        ​v. Edmondson Oil Co.​​, 457 U.S. 922, 937 (1982);​​Paladino v. Avnet Comput. Techs., Inc.​​,​

        ​134 F.3d 1054, 1062 (11th Cir. 1998).)​


 ​Count 4: 42 U.S.C. § 1985 – Conspiracy to Interfere with Civil Rights​

    ​45.​​PayPal conspired with FinCEN, DOJ, FBI, and media outlets (e.g., CNET, CBS News) to​

        ​interfere with Plaintiff’s First Amendment rights by coordinating her account​

        ​termination, media leaks, and deplatforming between January 15 and January 22, 2021.​

        ​(Statement of Facts)​

    ​46.​​The rapid sequence—FBI raid, PayPal’s ban within six days, CNET’s contact 44 minutes​

        ​after PayPal’s email—establishes a conspiracy. (​​Gordon v. Warren Cty. Bd. of​

        ​Supervisors​​, 231 F.3d 1009, 1017 (5th Cir. 2000);​​Adickes v. S.H. Kress & Co.​​, 398 U.S.​

        ​144, 152 (1970); Statement of Facts)​

    ​47.​ ​This non-arbitrable conspiracy, tied to the​​Ryan v. DOJ​​’s case, caused severe harm.​

        ​(​Paladino v. Avnet Comput. Techs., Inc.​​, 134 F.3d 1054, 1062 (11th Cir. 1998).​




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 ​Count 5: Defamation (Texas Law)​

    ​48.​​PayPal falsely implied Plaintiff was an “extremist” and “domestic terrorist” through leaks​

        ​to CNET and CBS News on January 21, 2021, with reckless disregard for truth, causing​

        ​over 28 defamatory articles, reputational harm, and business closure. (Statement of Facts)​

    ​49.​​The 44-minute and 18-minute gaps indicate pre-arranged intent to defame. (​​Doe v.​

        ​Columbia Univ.​​, 831 F.3d 46, 57 (2d Cir. 2016); Statement of Facts)​

    ​50.​​This non-arbitrable tort, linked to government collusion, meets Texas defamation​

        ​elements (false statement, publication, damages). (​​WFAA-TV, Inc. v. McLemore​​, 978​

        ​S.W.2d 568 (Tex. 1998);​​Bentley v. Bunton​​, 94 S.W.3d 561 (Tex. 2002).)​


 ​Count 6: Intentional Infliction of Emotional Distress (Texas Law)​

    ​51.​​PayPal’s extreme and outrageous conduct—false extremist labels, media leaks, and​

        ​deplatforming—caused severe emotional distress, forcing Plaintiff to sell her home and​

        ​relocate under a new name. (Statement of Facts ¶¶ 5–8; Ex. 13–17, 21.)​

    ​52.​​The coordinated timing indicates intentional harm. (​​Adickes v. S.H. Kress & Co.​​, 398​

        ​U.S. 144, 152 (1970); Statement of Facts).​

    ​53.​​This non-arbitrable tort meets Texas IIED elements (extreme conduct, intentional or​

        ​reckless, severe distress). (​​Twyman v. Twyman​​, 855 S.W.2d 619 (Tex. 1993).)​


 ​X. PRAYER FOR RELIEF​

    ​54.​​Plaintiff respectfully requests that this Court:​

            ​a.​ ​Award compensatory damages for financial harm, reputational damage, emotional​

                ​distress, and loss of liberty, in an amount to be determined at trial, but not less​

                ​than $25,000,000.​



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             ​b.​ ​Award punitive damages to deter PayPal’s unconstitutional conduct, in an amount​

                 ​to be determined at trial.​

             ​c.​ ​Declare that PayPal’s actions violated Plaintiff’s First, Fourth, and Fourteenth​

                 ​Amendment rights under 42 U.S.C. § 1983 and constituted a conspiracy under 42​

                 ​U.S.C. § 1985.​

             ​d.​ ​Issue an injunction compelling Defendant PayPal to issue a written corrective​

                 ​statement to all media outlets and platforms to which it disclosed Plaintiff’s​

                 ​account termination on January 21, 2021, including but not limited to CNET and​

                 ​CBS News.​

             ​e.​ ​Issue an injunction ordering PayPal to reinstate Plaintiff’s account and cease​

                 ​financial censorship based on political expression.​

             ​f.​ ​Award costs, attorney’s fees (if applicable), and any other relief the Court deems​

                 ​just and proper.​


 ​XI. JURY DEMAND​

 ​Plaintiff demands a trial by jury on all issues so triable.​




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                                                             ​Date:​​June 9, 2025​

                                                             ​Respectfully submitted,​



                                                             ​/s/ Jennifer L. Ryan​

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                                 ​CERTIFICATE OF SERVICE​

 I​ certify that on June 9, 2025, a true and correct copy of this Amended Complaint was served on​
  ​all counsel of record via CM/ECF pursuant to Fed. R. Civ. P. 5 and Local Rule CV-5.​

 ​/s/ Jennifer L. Ryan​




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